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                   UNITED STATES DISTRICT COURT
                        DISTRICT OF OREGON


RACHELLE "SHELLEY" SHANNON          )
          Defendant
                           '        )
                                    )
                                            Cases No. CR-95-224-01 RE
          vs.                       )                 CR-94-332-01 RE
                                    )
UNITED STATES OF AMERICA,           )
          Plaintiff                 )
                                    )



         MOTION FOR RELIEF PURSUANT TO CHANGE IN LAW
     Comes now Defendant RACHELLE SHANNON, Pro se,             see~ing    relief
pursuant the following.
                      SUMMARY OF THE CASE
      Defendant SHANNON was sentenced for violations of 18 844(i),
18 844(h), and interstate travel in aid of a crime of violence
for six arson fires at abortion facilities. She agreed to a plea
of guilty and was sentenced to 240 months. A pre-sentence report
was done, and defendant was given "enhancements" that had not
been presented to a jury, as well as an upward departure and a
mandatory minimum, in order for the court to compile a 20 year
sentence. Further, the court used the defendant's KS state charge
to compute the federal sentence, and then did not run it concur-
rently, as required. Prosecution also claimed the KS charge involved
a "life-threatening" injury, contrary to the doctor's report and
evidence. The 10 year mandatory minimum was added because a fire-
man slipped on a wet ladder and scratched his arm.
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                               ARGUMENT

      In a 5-4 majority of the U.S. Supreme Court, it announced
June 17, 2013 that it extended the Sixth Amendment right to a
jury trial to the facts that trigger or increase a sentence. Ib
the Supreme Court decision Alleyne v. U.S., No. 11-9335, 6-17-
2013, which was a federal firearms prosecution, the issue came up.
This decision will affect not only these types of cases, but it
will impact many others. In a quote from Justice Clarence Thomas:
"Any fact that, by law, increases the penalty for a crime is an
'element' that must be submitted to the jury and proven beyond
a reasonable doubt."
      Defendant SHANNON was sentenced to 240 months in the Bureau
of Prisons. She received "enhancements" which changed her sen-
tencing range. The proposed sentencing range should have been
much lower than 240 months. The essential point is that the aggra-
vating fact produced a higher range, which, in turn, conclusively
indicates that the fact is an "element." It must, therefore, be
submitted to a jury and proven beyond a reasonable doubt. It is
indisputable that a fact triggering a higher sentence alters the
prescribed range of sentences to which a defendant is exposed.
The legally prescribed range is the penalty affixed to the crime
•.•. it follows that a fact increasing either end of the range
produces a new penalty and constitutes an ingredient of the
offense.
     ·Alleyne is not at all dictated by Apprendi; it is simply
within the "logical compass" of Apprendi, retaining its own iden-
tity. Since Alleyne falls within the logical compass of Apprendi,
it does not mean it is actually dictated by it. Hence, Alleyne
is not dictated by precedent and it is a "new rule."
      Furthermore, Alleyne's overruling of Harris created a "new
rule." See Saffle v. Parks, 494 U.S. 484, 488 (1990) ("explicit
overruling of an earlier holding no doubt creates a "new rule.")
In Alleyne, it posseses both substantive and procedural character-




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istics; substantive rules are always applied retroactively. See
Schriro 542 U.S. at 351.
     On Feb. 11, AD 2014, the U.S. Court of Appeals for the First
Circuit, Judge Juan Torruella ruled that the government can choose
to hold a new trial if not satisfied with the sentencing range
that would apply in the abscence of the mandatory minimum. "Other
circuits have remanded cases for resentencing without the manda-
tory minimum." Criminal Law Reporter, 2-19-14. Defendant SHANNON
was given a " ••• mandatory minimum sentence unconstitutionally based
on judge-found facts." (CLR 2-19-14). The government cannot em-
panel a sentencing jury in light of the guilty plea in SHANNON's
case (U.S. v. Pena, 94 CrL 558, First Cir. 2014).

                              CONCLUSION
     Wherefore Defendant, RACHELLE "SHELLEY" SHANNON prays that
this honorable court will remand her for resentencing without the
10-year mandatory minimum, leaving a sentence of 10 years pi0stthree
years "on paper." Defendant has been in federal custody for more
than 12 years and nine months, not counting almost a year in county
jail in Portland while going to court. In light of these facts,
defendant SHANNON should be granted immediate release with no time
left in prison, halfway house, or "on paper."

                                    Respectfully Submitted,




                                    Rachelle Shannon, 59755-065
                                    FCI Waseca, Unit A
                                    P.O. Box 1731
                                    Waseca, MN 56093
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                          CERTIFICATE OF SERVICE

    I, RACHELLE "SHELLEY" SHANNON, hereby declare under penalty of
    perjury, that the foregoing was placed in the mailbox for inmates
    with proper postage affixed, to be sent by the USPS, to the clerk
    of the District Court, District of Oregon.



    DATE: March 12, AD 2014




    Rachelle Shannon, 59755-065
    FCI, Unit A
    P.O. Box 1731
    Waseca MN 56093
